Case 2:12-cr-00012-RAED       ECF No. 346, PageID.1369         Filed 09/18/13    Page 1 of 1




                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                       Case No. 2:12-cr-12-11
                                                         HON. R. ALLAN EDGAR
John Hoheneder III,
                                     /

                          ORDER APPROVING AND ADOPTING
                           REPORT AND RECOMMENDATION


       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objections have been filed thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and recommendation of the Magistrate filed 8/29/13 #325, is

approved and adopted as the Opinion and Findings of this Court.

       2. Defendant John Hoheneder III’s plea of guilty to Count I of Third Superseding

Felony Information: Conspiracy to Distribute and Possess with Intent to Distribute Heroin

and a mixture or substance containing a detectable amount of cocaine base is accepted.

Defendant John Hoheneder III is adjudicated guilty.

       3. A decision of whether to accept the written plea agreement will be made at the

time of sentencing after the Court has had the opportunity to review the Pre-sentence

Investigation Report. See U.S.S.G. Ch. 6.

       SO ORDERED.

       Dated: 9/18/2013

                                                           /s/ R. Allan Edgar
                                                          R. ALLAN EDGAR
                                                  UNITED STATES DISTRICT JUDGE
